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OCtOber 12, 2018

Honorable Anthony P. Patti, United States Magistrate Judge
Theodore Levin United States Courthouse

231 Lafayette Boulevard, Room 524

Detroit, l\/lichigan 48226

Re: State Farm v. E|ite Hea|th Centers, et a|., 16-cv-13040
REV|SED Request to tile Motion for Reconsideration on Request for Leave to File
Motion for Protective Order

Dear Judge Patti:

Jayson Rosett seeks leave to file a motion for reconsideration of the “text ordei”
denying Jayson Rosett’s request for leave to file a motion for a protective order. The text
order denies Mr. Rosett’s request because 1: Mr. Rosett has not been indicted yet‘l; 2)
“lVlr. Rosett is under investigation for money laundering and conspiring to defraud the
internal Revenue Service, not for health care or insurance fraud as alleged here; and 3)
the other parties, including the codefendants, would suffer prejudice if a stay were
granted. Mr. Rosett respectfully suggests had the Court granted leave and allowed Mr.
Rosett to file a Motion the Court would have seen that two of the above reasons are
incorrect

Mr. Rosett seeks leave to file a lVlotion for Reconsideration for the following
reasons:

 

1 Mr. Rosett has not been indicted yet. He will be proceeding by way of lnformation the beginning of
November.

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A. Mr. Rosett is under investigation and will be prosecuted for events that
led to the health care fraud and insurance fraud as alleged in the
Complaint by State Farm.

The nature of the criminal case against Mr. Rosett is that he conspired with others
including some of the named Defendants to bribe police officers to obtain unofficial
accident reports. The Governments investigation also reveals that some of the
E|ite Defendants and Mr. Rosett had an entity incorporated so that the monies
used to bribe the police officers could be laundered through payments to this entity.
After the unochial reports were obtained, they were provided to the E|ite entites
and the Michael Morse law firm for the purpose of soliciting patients for the E|ite
entities and clients for the Michael Morse law firm. ln their investigation, the
Government also alleges lV|r. Rosett misrepresented information to the
Government to conceal lVlr. Rosett’s and some of the named codefendants
involvement in the instant offense

B. Mr. Rosett did not ask for a Stay of Proceedings he merely asked for a
Protective Order adjourning the deposition 60 days.

Mr. Rosett is not seeking a Stay of Proceedings. Mr. Rosett has complied with
his discovery obligations to date. ln fact he has produced documents and answered
interrogatories He has also produced several thousand documents which included
emails that shows what could be construed as his involvement, the E|ite Defendants
involvement, and the Michael Morse law firms involvement in the procurement of
unofficial accident reports. Mr. Rosett is simply seeking a sixty day adjournment of
his scheduled deposition. The parties now are scheduling depositions of other
witnesses for late November early December. There would certainly be no harm or
prejudice to anyone adjourning N|r. Rosett’s deposition until late December. Once
again, he is not asking for a Stay of Proceedings.

Thank you for your consideration of this request l apologize for not providing the
Court with the above referenced facts in my initial request.

Very truly yours,

B n lVl. Gonek

Cc: Hon. Avern Cohn

